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February 3, 2025




The Honorable Margo K. Brodie
Chief Judge
United States District Court
Eastern District of New York

To the Honorable Judge Brodie;

Herman and I met 45 years ago. From the very first I was impressed with his generous nature and easy-
going temperament. As a child of Holocaust survivors, my family had some issues with fear and
depression and I grew up fearing life – fear that anyone could come in and, in an instant, destroy
anything – families, homes and hope; depression because it had all happened to my parents, who were
placed in labor camps for the duration of the war – they were children when the Germans came into
their respective towns and spent the six years before liberation in labor camps. When I met my
husband however, even though he too was a child of Holocaust survivors, he did not seem to suffer
from those issues. He was always able to give me a sense of safety and comfort.

After marrying him and having three children, I saw that I could always depend on him to help with the
children and be a guiding light to them. Even through all of our difficulties, I am always able to depend
on him. He helped them with their homework and with various projects they needed for school. Every
Sunday we took our children out so that they had the feeling of a safe and happy childhood – a safety
net so to speak - so necessary for a child to feel loved and secure. A lot of fathers would not take that
time to spend a complete day with the children but Herman never balked about giving up his Sundays
and happily spent that time with us.

Today he helps the grandchildren with their homework and is always available to them when they have
a special project or questions about our religion or math, and if he isn’t sure about the answer he will
spend time researching it.

A few years ago, I was becoming more depressed considering our financial situation and that I am the
only working member as my husband’s health deteriorated and he is not physically able to work, and
has some physiological issues as well, so that the bills are all paid for by my working. As I fell deeper
into a depression, my husband took me to an animal shelter and I fell in love with a dog. As a surprise
to me, my husband adopted the animal for me, for us. While my dog has added some unexpected
expenses, he has also brought more joy into my life than I can describe. My husband did this out of
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whole-hearted consideration and love. Unfortunately, due to my current health situation I can no
longer walk, clean up after the dog or play with the dog on my own and my husband has to help me take
care of all of those activities as much as he is able. He does this with no complaint to me and indeed
makes it seems like he is happy to do that even though I know that this was not something he was
thinking he would be doing when we first got our dog, Lokie, as he was already starting to deteriorate at
that time.

Three months ago, I suffered a heart attack. Herman came to the ER with me, stayed with me as I
emergently underwent cardiac stent placement and an intra-aortic cardiac pump placement. This
necessitated a stay in the Cardiac ICU where I was not allowed to move for 2 days/nights. I then had
further cardiac stent placements and again was not allowed to move. I spent a total of five days and
nights in the ICU in an advanced life support room. He stayed with me and did not leave my side. He
would not leave me alone to fend for myself – only leaving for short periods of time to shower and feed
my dog. His presence gave me comfort and made the hospital stay and subsequent procedures not as
terrifying as they might have been.

After I was discharged, Herman accompanied me on daily walks with me to help strengthen my heart
and helped me with household and personal needs – again to the best of his abilities while not a lot is
still a help. As it is imperative that I not lose my job for both my salary which is what we live on and my
health insurance which is a need – I depended on him to help me get ready for work and out of the
house. Currently I am back to work full time, but without his constant help and presence I doubt I
would be able to work full time, which is necessary for both health insurance and to pay our bills.
Indeed, working full time is not a luxury as much as it is a necessity. Recently, I have developed right
leg arthritis and bone pain – possibly due to the heart attack which sometimes opens a cascade of
events in a person’s health. His help and presence are invaluable to me and indeed I do not feel that I
could manage on my own at this point. I am a diabetic with high blood pressure, and I am on 11
different medications a day to control those conditions and to ensure the cardiac stents are not
rejected by my body. I am also starting to have some vision issues – and as a result of these physical
health issues I depend on Herman more and more. I am utterly dependent on Herman – who has never
complained and always makes me feel like it is a pleasure for him to help me. I am terrified of losing
this help as I do not think I will be able to live independently without Herman. I have never been so
dependent on another person which adds to my depression and general feeling of helplessness as I am
scared of losing the little we have.

It has always been the reality that my husband is a constant presence in my life, reliable, steady,
compassionate and dependable. I cannot imagine how difficult my life, my children’s lives and my
grandchildren’s lives would be without him there.

Please take into consideration the negative impact that would result in the lives of his family without
him being with us. Please take into consideration the horror of my life if I lose my husband’s help,
support and companionship as I do not feel I would be able to survive.

I, myself, would be unable to continue working and have no other means of support. I would not have
my medical insurance without which I would not survive as my health care needs are at this point
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enormous. My children would be devastated. My grandchildren would be bereft. While I understand
that my dog is not my child or grandchild, he is still a being who needs to be taken care of and I will need
to give him away as I would physically be unable to care for him – doing that would be unthinkable and
yet it is something I would be forced to do.

Lastly, my husband, who has suffered from a number of health issues, would deteriorate in any kind of
incarceration. While he has been or has tried to be as optimistic as possible, I can see that he is very
concerned about his family. I would plead that your Honor please take into consideration the toll such
an adverse action would take on a great number of people who depend on my husband.

Thank you,


Yocheved Aviva Segal
